

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


				




NO. PD-0847-11




		

JEFFERY SCOTT GRAVES, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


FROM THE THIRD COURT OF APPEALS


LLANO COUNTY





	Per curiam.  Keasler, and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 9.3(b)
because the original petition is not accompanied by 11 copies.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this Order.	

Filed: October 12, 2011

Do Not Publish


